
99 N.Y.2d 649 (2003)
DOMEN HOLDING CO., Appellant,
v.
IRENE S. ARANOVICH, Respondent, et al., Defendants.
Court of Appeals of the State of New York.
Submitted March 31, 2003.
Decided April 8, 2003.
Appeal, insofar as taken from that portion of the Appellate Division order that affirmed Supreme Court's denial of appellant's motion for summary judgment dismissing the counterclaim and denied plaintiff's motion for a stay and related interim relief, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such part of the order appealed from does not finally determine the action within the meaning of the Constitution.
